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8
                                     UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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     OMAR LUNA,                                )   Case No. CV 21-4261 FMO (KKx)
12                                             )
                        Plaintiff,             )
13                                             )
                 v.                            )   JUDGMENT
14                                             )
     YES TO EVERYTHING, LLC, et al.,           )
15                                             )
                        Defendants.            )
16                                             )

17         IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18   Dated this 23rd day of September, 2021.

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20                                                       /s/
                                                                  Fernando M. Olguin
21                                                             United States District Judge

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